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                                 THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

    JESUSITA LOPEZ AND ARTHUR LOPEZ,                           §
                                                               §
           PLAINTIFFS,                                         §
                                                               §     CIVIL ACTION NO. 5:17-CV-926
    VS.                                                        §
                                                               §
    EVANSTON INSURANCE COMPANY AND                             §
    TIM MCDONALD,                                              §
                                                               §
           DEFENDANTS.


                                DEFENDANTS’ NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. § 1441, Defendants Evanston Insurance Company and Tim

McDonald hereby remove the action styled and numbered, Jesusita Lopez and Arthur Lopez v.

Evanston Insurance Company and Tim McDonald, 2017CV04325, currently pending in the

County Court At Law No. 3, Bexar County, Texas to the United States District Court for the

Western District of Texas, San Antonio Division. For the reasons set forth below, removal of the

state court action is proper under 28 U.S.C. §§ 1332, 1441, and 1446.

                                     I. THE STATE COURT ACTION
          1.       On August 10, 2017, Jesusita Lopez and Arthur Lopez (“Plaintiffs”) filed their

Original Petition in Cause No. 2017CV04325 against Defendants.

                      II. DEFENDANTS’ NOTICE OF REMOVAL IS TIMELY
          2.       Evanston was served with the Original Petition and citation on August 21, 2017. 1

Accordingly, Evanston files this Notice of Removal within the 30-day time period required by 28

U.S.C. § 1446(b).



1
      The Plaintiffs attempted to serve Evanston via the Commissioner of the Texas Department of Insurance. A letter
      to Evanston states that the Commissioner was served on August 21, 2016. This is clearly a mistake given that the

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         3.        Tim McDonald has not been formally served, but has filed an answer in the lawsuit.

                                        III. VENUE IS PROPER
         4.        Venue is proper in the United States District Court for the Western District of

Texas, San Antonio Division, under 28 U.S.C. §§ 124(a)(5) and 1441(a) because this district and

division embrace the place in which the removed action has been pending.

                                                    PARTIES

                                IV. BASIS FOR REMOVAL JURISDICTION
         5.        Removal of this action is proper under 28 U.S.C. § 1441 because it is a civil action

brought in a state court and the federal courts have original jurisdiction over the subject matter

pursuant to 28 U.S.C. § 1332. Specifically, removal is proper because there is now, and was at the

time this action was filed, complete diversity of citizenship between all Plaintiffs and all

Defendants.

         6.        Plaintiffs are Texas residents who reside in Bexar County, Texas. Therefore, for the

purposes of diversity citizenship, Plaintiffs are each a citizen of the State of Texas.

         7.        Evanston Insurance Company is a citizen of the state of Illinois with its principal

place of business in Illinois. Therefore, for the purposes of diversity citizenship, Evanston is not

a citizen of the State of Texas.

         8.        Tim McDonald, the other named defendant, is a resident of Virginia and is a citizen

of Virginia. Therefore, for purposes of diversity citizenship, McDonald is not a citizen of Texas.

         9.        Accordingly, there is now, and was at the time this action was filed, complete

diversity between all plaintiffs and all defendants.




    suit was not filed until August 10, 2017. Upon information and belief, the Commissioner was served on August
    21, 2017.


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                                   V. AMOUNT IN CONTROVERSY
           10.     If it is facially apparent that Plaintiffs’ claims exceed the jurisdictional amount,

Evanston’s burden is satisfied. 2

           11.     In their Original Petition, Plaintiffs seek “monetary relief of $100,000 or less,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney

fees.” 3

           12.     Therefore, it is apparent that Plaintiffs’ claims in their Original Petition exceed the

amount required to support federal jurisdiction.

           13.     Plaintiffs’ Original Petition also insists that the damages they seek “will not exceed

$75,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and

attorneys’ fees.” 4

           14.     “When [a] removing defendant shows that amount in controversy actually exceeds

federal jurisdictional amount, plaintiff's required showing, to prevent removal, that it is certain that

he will not be able to recover more than damages prayed for in state court complaint below the

jurisdictional amount, can be met by showing state procedural rules binding plaintiffs to their

pleadings; otherwise, plaintiff seeking to prevent removal must file binding stipulation or affidavit

with complaint; once defendant has removed, later filings are irrelevant.” 5

           15.     It is apparent that Plaintiffs’ claims in their Original Petition exceed the

jurisdictional amount. 6


2
    Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1999).
3
    See Plaintiffs’ Original Petition, attached as Exhibit D, page 24, paragraph 99.
4
    See Id at page 2, paragraph 5; see also Plaintiffs’ Original Petition, attached as Exhibit D, “Binding Stipulation”.
5
     De Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th Cir. 1995).
6
    See Plaintiffs’ Original Petition, attached as Exhibit D, page 1, paragraph 3.


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         16.       Plaintiffs have also provided an estimate of damage totaling $40,400.43 7 and is

seeking treble damages under the Texas Insurance Code, in addition to other penalties and

attorneys’ fees. 8

         17.       Additionally, the “Binding Stipulation” attached to the plaintiffs’ original petition

does not qualify as a binding stipulation, as the parties have not agreed to the terms of the

attachment. 9

         18.        Furthermore, the “Binding Stipulation” attached to the plaintiff’s original petition

does not qualify as an affidavit as the document is neither notarized nor does it contain the

signature of either plaintiff, merely the plaintiffs’ counsel. 10

                                                  VI. EXHIBITS
         19.       Essex files this Notice of Removal, accompanied by the following exhibits:

                   a.           Index of Matters Being Filed, attached hereto as Exhibit A
                   b.           The State Court Docket Sheet, attached hereto as Exhibit B
                   c.           Service of Process, attached hereto as Exhibit C
                   d.           Plaintiffs’ Original Petition, attached hereto as Exhibit D
                   e.           Defendants’ Original Answer, attached hereto as Exhibit E
                   f.           List of All Counsel of Record, attached hereto as Exhibit F
                   g.           Plaintiffs’ Estimate of Damage, attached hereto as Exhibit G




7
     See Plaintiffs’ Estimate of Damage, attached as Exhibit G.
8
     See Plaintiffs’ Original Petition, attached as Exhibit D, page 25
9
     See Cantu v. Allstate Vehicle, 7:16-CV-084, 2016 WL 1695284, at *3 (S.D. Tex. Apr. 28, 2016) (noting that “first
     and foremost,” in consideration of a binding stipulation, the parties had not actually signed a stipulation limiting
     the amount of damages).
10
     See Plaintiffs’ Original Petition, attached as Exhibit D, “Binding Stipulation”.


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                                         VII. JURY DEMAND
         20.       Plaintiffs demanded a jury in the state court action.

                                         VIII. CONCLUSION
         21.       The Defendants will promptly file a copy of this Notice of Removal with the clerk

of the state court where the action is pending.

         22.       Therefore, Defendants hereby provide notice that this action is duly removed.



                                                  Respectfully submitted,

                                                  ZELLE LLP


                                                  By:      /s/ Todd M. Tippett
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                                                  ATTORNEY FOR DEFENDANTS




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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of this Notice of Removal has been served
this 20th day of September 2017, by electronic filing as follows:

           J. Gabriel Ortiz
           gortiz@phippsllp.com
           rsoliz@phippsllp.com
           PHIPPS, LLP
           102 9th Street
           San Antonio, TX 78215

           ATTORNEY FOR PLAINTIFF

                                                           /s/ Todd M. Tippett
                                                            Todd M. Tippett




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